

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-77,638-03






IN RE NKRUMAH LAMUMBA VALIER, Relator






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 1150625 IN THE 183RD DISTRICT COURT

FROM HARRIS COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  Relator filed a previous mandamus application trying to compel the
district clerk to forward his habeas application to this Court.  On August 1, 2012, this Court held in
abeyance and ordered the Harris County District Clerk to respond as to why that application had not
yet been received by this Court.  This Court has not yet received a response from the Harris County
District Clerk as to Relator's previous habeas application.  

	Relator now alleges that he filed a "revised" application for a writ of habeas corpus in the
183rd District Court of Harris County, that more than 35 days have elapsed, and that the "revised"
application has not yet been forwarded to this Court.  

	In these circumstances, additional facts are needed.  Respondent, the District Clerk of Harris
County, is ordered to file a response, which may be made by submitting the record on such habeas
corpus application, submitting a copy of a timely filed order which designates issues to be
investigated (see McCree v. Hampton, 824 S.W.2d 578, 579 (Tex. Crim. App. 1992)), or stating that
Relator has not filed an application for a writ of habeas corpus in Harris County.  Should the
response include an order designating issues, proof of the date the district attorney's office was
served with the habeas application shall also be submitted with the response.  This application for
leave to file a writ of mandamus shall be held in abeyance until Respondent has submitted the
appropriate response.  Such response shall be submitted within 30 days of the date of this order.



Filed: April 10, 2013

Do not publish	


